             Case 22-03210-CL11                   Filed 12/16/22           Entered 12/16/22 11:46:52                   Doc 1       Pg. 1 of 34


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Employee Loan Solutions, LLC

2.   All other names debtor
     used in the last 8 years     FDBA Employee Loan Solutions, Inc.
     Include any assumed          DBA TrueConnect or TrueConnectLoan
     names, trade names and       AW Emp Loan Holdings Inc.
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  10755 Scripps Poway Parkway, Suite 482
                                  San Diego, CA 92131
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Diego                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Employee Loan Solutions, LLC                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5140

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check
     the first sub-box. A debtor as
                                          Chapter 11. Check all that apply:
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor    Employee Loan Solutions, LLC                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of
    creditors
                                        1-49                                           1,000-5,000                                25,001-50,000
                                        50-99                                          5001-10,000                                50,001-100,000
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50     million              $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   Employee Loan Solutions, LLC                                               Case number (if known)
         Name

                            $50,001 - $100,000                       $10,000,001 - $50 million               $1,000,000,001 - $10 billion
                            $100,001 - $500,000                      $50,000,001 - $100 million              $10,000,000,001 - $50 billion
                            $500,001 - $1 million                    $100,000,001 - $500 million             More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 4
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             /s/Caroline R. Djang                            12/16/2022
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Fill in this information to identify the case:
Debtor name Employee Loan Solutions, LLC
United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                            Check if this is an
                                               CALIFORNIA
Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Chirravuri                                                                                                                                                              $0.00
Soundarya Lalitha
#E2 905, SNN Raj
Serenity
Begur Main Road,
Yellanahalli Villa
Begur Hobli
Mankato, MN
56006-8000
Codero                                                                                                                                                                  $0.00
3005 S. LaMar Blvd.,
Suite D109 #76
Austin, TX 78704
Copower Inc.                                                                                                                                                            $0.00
1600 W Hillsdale
Blvd
San Mateo, CA
94402
David Rothstein                                                                                                                                                         $0.00
33267 Lisa Ln.
Solon, OH 44139
Douglas B. Farry                                                                                                                                                        $0.00
1142 Ann Arbor Ln.
San Diego, CA
92131
Gusto Payroll                                                                                                                                                           $0.00
525 20th St.
San Francisco, CA
94107
Hubspot                                                                                                                                                         $12,000.00
1 Harbor Place, #105
Portsmouth, NH
03801
Impact Capital                                                                                                                                                          $0.00
1999 Avenue of the
Stars #1100
Los Angeles, CA
90067

Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     Employee Loan Solutions, LLC                                                             Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Jamie Cowper                                                                                                                                                            $0.00
69411 Ramon Rd.,
#451
Cathedral City, CA
92234
Matthew Mitchell                                                                                                                                                        $0.00
910 Northwest Naito
Parkway, #I-19
Portland, OR 97209
Persona Identities                                                                                                                                                $1,600.00
Inc.
981 Mission St., #95
San Francisco, CA
94103
San Diego                                                                                                                                                               $0.00
Accounting Group
Attn: Forest Tracko
2545 Felicita Rd.
Escondido, CA
92029
Sunrise Banks, NA                                   Money loaned              Disputed                 $7,600,000.00                   Unknown                   Unknown
200 University
Avenue West
Saint Paul, MN
55103
United Health                                                                                                                                                           $0.00
P.O. Box 1459
Minneapolis, MN
55440-1459
Veera Venkata Rao                                                                                                                                                       $0.00
Pentakota
#304, Ushoodaya
Trinity
Green Glen Layout,
Bellandur
Amboy, MN
56010-3000




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
          Case 22-03210-CL11                                     Filed 12/16/22                         Entered 12/16/22 11:46:52                                          Doc 1       Pg. 9 of 34

Fill in this information to identify the case:

Debtor name           Employee Loan Solutions, LLC

United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                    $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                       $       38,144,499.10

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                      $       38,144,499.10


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                    $        7,600,000.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                       $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                               +$            13,600.00


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                             $           7,613,600.00




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
          Case 22-03210-CL11                   Filed 12/16/22           Entered 12/16/22 11:46:52                      Doc 1           Pg. 10 of 34

Fill in this information to identify the case:

Debtor name          Employee Loan Solutions, LLC

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No.   Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Pacific Western Bank                              Checking                              8879                                  $167,096.10



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                   $167,096.10
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No.   Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment
                    $27,403.00 Remaining retainer paid to Buchalter
           8.1.     $50,000 Retainer to Breakwater Law Group                                                                                        $77,403.00




9.         Total of Part 2.                                                                                                                     $77,403.00
           Add lines 7 through 8. Copy the total to line 81.

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                                        page 1
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Debtor       Employee Loan Solutions, LLC                                                 Case number (If known)
             Name



Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

    No.   Go to Part 4.
    Yes Fill in the information below.
11.       Accounts receivable
          11a. 90 days old or less:                 1,800,000.00       -                                 0.00 = ....               $1,800,000.00
                                      face amount                           doubtful or uncollectible accounts




          11b. Over 90 days old:                      100,000.00       -                                0.00 =....                  $100,000.00
                                      face amount                           doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                      $1,900,000.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

    No.   Go to Part 5.
    Yes Fill in the information below.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No.   Go to Part 6.
    Yes Fill in the information below.

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No.   Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No.   Go to Part 8.
    Yes Fill in the information below.

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No.   Go to Part 9.
    Yes Fill in the information below.

Part 9:      Real property
54. Does the debtor own or lease any real property?

    No.   Go to Part 10.
    Yes Fill in the information below.
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 2
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Debtor        Employee Loan Solutions, LLC                                                 Case number (If known)
              Name




Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No.    Go to Part 11.
    Yes Fill in the information below.
           General description                                          Net book value of          Valuation method used         Current value of
                                                                        debtor's interest          for current value             debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           1. Awarded patent on our technology
           2. Trademark on TrueConnect brand
           3. Existing revenue-generating customers
           4. Pipeline of new customers
           5. Distribution channel partner contracts
           6. Revenue generating vendor partners                                   n/a              Debtor's opinion of value         $25,000,000.00



61.        Internet domain names and websites
           Several domain names and websites                                  $1,000,000.00          Debtor's opinion of value              Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           Lists of existing and prospective customers
           and channel partners.                                                         n/a         Debtor's opinion of value          $1,000,000.00



64.        Other intangibles, or intellectual property
                                                                                                    Debtor's opinion of value
           Strong consumer brand and reputation                                          n/a                                          $10,000,000.00



65.        Goodwill

66.        Total of Part 10.                                                                                                        $36,000,000.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No.    Go to Part 12.
    Yes Fill in the information below.
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                            page 3
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Debtor          Employee Loan Solutions, LLC                                                                        Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $167,096.10

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $77,403.00

82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,900,000.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                            $36,000,000.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                       $38,144,499.10             + 91b.                       $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $38,144,499.10




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 4
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Fill in this information to identify the case:

Debtor name          Employee Loan Solutions, LLC

United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                          Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    Sunrise Banks, NA                            Describe debtor's property that is subject to a lien              $7,600,000.00                  Unknown
       Creditor's Name                              All personal property
       200 University Avenue
       West
       Saint Paul, MN 55103
       Creditor's mailing address                   Describe the lien
                                                    UCC Statement Filing
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       2/12/2018                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.




                                                                                                                      $7,600,000.00
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.


Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 1
          Case 22-03210-CL11                      Filed 12/16/22               Entered 12/16/22 11:46:52                             Doc 1            Pg. 15 of 34

Fill in this information to identify the case:

Debtor name        Employee Loan Solutions, LLC

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     Unknown
          Chirravuri Soundarya Lalitha
          #E2 905, SNN Raj Serenity                                          Contingent
          Begur Main Road, Yellanahalli Villa                                Unliquidated
          Begur Hobli                                                        Disputed
          Mankato, MN 56006-8000
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     Unknown
          Codero                                                             Contingent
          3005 S. LaMar Blvd., Suite D109 #76                                Unliquidated
          Austin, TX 78704                                                   Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     Unknown
          Copower Inc.                                                       Contingent
          1600 W Hillsdale Blvd                                              Unliquidated
          San Mateo, CA 94402                                                Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     Unknown
          David Rothstein                                                    Contingent
          33267 Lisa Ln.                                                     Unliquidated
          Solon, OH 44139                                                    Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 3
                                                                                                          56562
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Debtor      Employee Loan Solutions, LLC                                                    Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Douglas B. Farry                                           Contingent
         1142 Ann Arbor Ln.                                         Unliquidated
         San Diego, CA 92131                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Gusto Payroll                                              Contingent
         525 20th St.                                               Unliquidated
         San Francisco, CA 94107                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $12,000.00
         Hubspot                                                    Contingent
         1 Harbor Place, #105                                       Unliquidated
         Portsmouth, NH 03801                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number   3852
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Impact Capital                                             Contingent
         1999 Avenue of the Stars #1100                             Unliquidated
         Los Angeles, CA 90067                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Jamie Cowper                                               Contingent
         69411 Ramon Rd., #451                                      Unliquidated
         Cathedral City, CA 92234                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         Matthew Mitchell                                           Contingent
         910 Northwest Naito Parkway, #I-19                         Unliquidated
         Portland, OR 97209                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,600.00
         Persona Identities Inc.                                    Contingent
         981 Mission St., #95                                       Unliquidated
         San Francisco, CA 94103                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 3
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Debtor       Employee Loan Solutions, LLC                                                           Case number (if known)
             Name

3.12      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  Unknown
          San Diego Accounting Group                                        Contingent
          Attn: Forest Tracko                                               Unliquidated
          2545 Felicita Rd.                                                 Disputed
          Escondido, CA 92029
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.13      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  Unknown
          United Health                                                     Contingent
          P.O. Box 1459                                                     Unliquidated
          Minneapolis, MN 55440-1459                                        Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.14      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  Unknown
          Veera Venkata Rao Pentakota                                       Contingent
          #304, Ushoodaya Trinity                                           Unliquidated
          Green Glen Layout, Bellandur                                      Disputed
          Amboy, MN 56010-3000
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                    related creditor (if any) listed?                  account number, if
                                                                                                                                                       any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                              0.00
5b. Total claims from Part 2                                                                           5b.    +   $                         13,600.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                              13,600.00




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 3 of 3
          Case 22-03210-CL11                   Filed 12/16/22           Entered 12/16/22 11:46:52                    Doc 1        Pg. 18 of 34

Fill in this information to identify the case:

Debtor name        Employee Loan Solutions, LLC

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Third party host
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    Codero
             List the contract number of any                                        3005 S. LaMar Blvd., Suite D109 #76
                   government contract                                              Austin, TX 78704


2.2.         State what the contract or           Vision and Dental
             lease is for and the nature of       Insurance
             the debtor's interest

                State the term remaining
                                                                                    Copower Inc.
             List the contract number of any                                        1600 W Hillsdale Blvd
                   government contract                                              San Mateo, CA 94402


2.3.         State what the contract or
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    Gusto Payroll
             List the contract number of any                                        525 20th St.
                   government contract                                              San Francisco, CA 94107


2.4.         State what the contract or           CRM Tool
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    Hudspot
             List the contract number of any                                        1 Harbor Place, #105
                   government contract                                              Portsmouth, NH 03801




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 2
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Debtor 1 Employee Loan Solutions, LLC                                            Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or         Equity Banking
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Impact Capital
          List the contract number of any                               1999 Avenue of the Stars #1100
                government contract                                     Los Angeles, CA 90067


2.6.      State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Persona Identities Inc.
          List the contract number of any                               981 Mission St., #95
                government contract                                     San Francisco, CA 94103


2.7.      State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   San Diego Accounting Group
                                                                        Attn: Forest Tracko
          List the contract number of any                               2545 Felicita Rd.
                government contract                                     Escondido, CA 92029


2.8.      State what the contract or         Health insurance
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        United Health
          List the contract number of any                               P.O. Box 1459
                government contract                                     Minneapolis, MN 55440-1459




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 2 of 2
         Case 22-03210-CL11                 Filed 12/16/22          Entered 12/16/22 11:46:52                    Doc 1        Pg. 20 of 34

Fill in this information to identify the case:

Debtor name      Employee Loan Solutions, LLC

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    EMP Loan                    10755 Scripps Poway Parkway                              Sunrise Banks, NA               D        2.1
          Holdings, Inc.              Suite 482                                                                                 E/F
                                      San Diego, CA 92131
                                                                                                                               G




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1
          Case 22-03210-CL11                 Filed 12/16/22            Entered 12/16/22 11:46:52                      Doc 1        Pg. 21 of 34




Fill in this information to identify the case:

Debtor name         Employee Loan Solutions, LLC

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:      Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                            Gross revenue
      which may be a calendar year                                                    Check all that apply                          (before deductions and
                                                                                                                                    exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                                  $989,860.28
      From 1/01/2022 to Filing Date
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue             Gross revenue from
                                                                                                                                    each source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply
      3.1.
             Codero                                               9/19/22,                         $13,525.63          Secured debt
             3005 S. LaMar Blvd., Suite D109 #76                  10/17/22,                                            Unsecured loan repayments
             Austin, TX 78704                                     11/19/22                                             Suppliers or vendors
                                                                                                                       Services
                                                                                                                       Other




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
          Case 22-03210-CL11                  Filed 12/16/22             Entered 12/16/22 11:46:52                        Doc 1        Pg. 22 of 34

Debtor       Employee Loan Solutions, LLC                                                        Case number (if known)



      Creditor's Name and Address                                   Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                          Check all that apply
      3.2.
             Sunrise Banks, NA                                      10/3/22,                         $76,196.78            Secured debt
             200 University Avenue West                             11/1/22,                                               Unsecured loan repayments
             Saint Paul, MN 55103                                   12/6/22
                                                                                                                           Suppliers or vendors
                                                                                                                           Services
                                                                                                                           Other

      3.3.
             Rebbecks Media                                         10/4 and                         $10,000.00            Secured debt
             P.O. Box 271                                           11/02                                                  Unsecured loan repayments
             Denver, CO 80206                                                                                              Suppliers or vendors
                                                                                                                           Services
                                                                                                                           Other

      3.4.
             Impact Capital                                         10/4/22                          $10,000.00            Secured debt
             1999 Avenue of the Stars #1100                                                                                Unsecured loan repayments
             Los Angeles, CA 90067                                                                                         Suppliers or vendors
                                                                                                                           Services
                                                                                                                           Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                    Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                         Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                          Date action was               Amount
                                                                                                                        taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
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Debtor        Employee Loan Solutions, LLC                                                       Case number (if known)




      None.
              Case title                              Nature of case               Court or agency's name and                 Status of case
              Case number                                                          address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
              Recipient's name and address            Description of the gifts or contributions                  Dates given                            Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and            Amount of payments received for the loss                   Dates of loss             Value of property
      how the loss occurred                                                                                                                             lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
               Who was paid or who received              If not money, describe any property transferred              Dates                    Total amount or
               the transfer?                                                                                                                            value
               Address
      11.1.    Buchalter
               18400 Von Karman Ave.
               Suite 800
               Irvine, CA 92612                          Attorney Fees                                                12/16/22                    $50,000.00

               Email or website address
               cdjang@buchalter.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
          Case 22-03210-CL11                  Filed 12/16/22            Entered 12/16/22 11:46:52                        Doc 1     Pg. 24 of 34

Debtor        Employee Loan Solutions, LLC                                                      Case number (if known)




      None.
      Name of trust or device                             Describe any property transferred                   Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
               Address                                                                                             Dates of occupancy
                                                                                                                   From-To
      14.1.    215 S. Highway 101                                                                                  2018-2020
               Solana Beach, CA 92075

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

               Facility name and address               Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

      No.
          Yes. State the nature of the information collected and retained.

                 Lists of records include customer personally identifiable informaion
                 Does the debtor have a privacy policy about that information?
                  No
                  Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?

Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units


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Debtor      Employee Loan Solutions, LLC                                                          Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or           Date account was                  Last balance
               Address                                  account number             instrument                   closed, sold,                 before closing or
                                                                                                                moved, or                              transfer
                                                                                                                transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
          Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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Debtor      Employee Loan Solutions, LLC                                                        Case number (if known)



          No.
          Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
          Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        San Diego Accounting Group                                                                                         June 2022 to
                    2545 Felicita Rd.                                                                                                  present
                    Escondido, CA 92029

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
          Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                   Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

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Debtor      Employee Loan Solutions, LLC                                                        Case number (if known)



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any             % of interest, if
                                                                                                  interest                               any
      Douglas B. Farry                       11442 Ann Arbor Ln                                   CEO
                                             San Diego, CA 92130



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


          No
          Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

          No
          Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                       property                                                                     providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
          Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
          Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on

                                                                Douglas Farry
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes

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CSD 1008 (Page 2) [08/21/00]
                                                             INSTRUCTIONS

1)    Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.

2)    A creditors matrix with Verification is required whenever the following occurs:

      a)       A new petition is filed. Diskette required.

      b)       A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

      c)       An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
               debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3)    The scannable matrix must be originally typed or printed. It may not be a copy.

4)    CONVERSIONS:

      a)       When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
               mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

      b)       For Chapter 7, 11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the
               mailing matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity
               security holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5)    AMENDMENTS AND BALANCE OF SCHEDULES:

      a)       Scannable matrix format required.

      b)       The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any
               portion of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

      c)       Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of
               each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
               on the same page in alphabetical order.

6)    Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.




CSD 1008
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                         Chirravuri Soundarya Lalitha
                         #E2 905, SNN Raj Serenity
                         Begur Main Road, Yellanahalli Villa
                         Begur Hobli
                         Mankato, MN 56006-8000



                         Codero
                         3005 S. LaMar Blvd., Suite D109 #76
                         Austin, TX 78704



                         Copower Inc.
                         1600 W Hillsdale Blvd
                         San Mateo, CA 94402



                         David Reiling
                         4516 Fremont Ave. South
                         Minneapolis, MN 55419



                         David Rothstein
                         33267 Lisa Ln.
                         Solon, OH 44139



                         Diego Guayan
                         1916 Conejo Lane
                         Fullerton, CA 92833



                         Douglas B. Farry
                         1142 Ann Arbor Ln.
                         San Diego, CA 92131



                         EMP Loan Holdings, Inc.
                         10755 Scripps Poway Parkway
                         Suite 482
                         San Diego, CA 92131



                         Gusto Payroll
                         525 20th St.
                         San Francisco, CA 94107
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                     Hubspot
                     1 Harbor Place, #105
                     Portsmouth, NH 03801



                     Hudspot
                     1 Harbor Place, #105
                     Portsmouth, NH 03801



                     Impact Capital
                     1999 Avenue of the Stars #1100
                     Los Angeles, CA 90067



                     Jamie Cowper
                     69411 Ramon Rd., #451
                     Cathedral City, CA 92234



                     Matthew Mitchell
                     910 Northwest Naito Parkway, #I-19
                     Portland, OR 97209



                     Michael Maron
                     12804 Baywind Point
                     San Diego, CA 92130



                     Persona Identities Inc.
                     981 Mission St., #95
                     San Francisco, CA 94103



                     Richard Scott Davis
                     2200 Misty Haven Lane
                     Plano, TX 75093



                     San Diego Accounting Group
                     Attn: Forest Tracko
                     2545 Felicita Rd.
                     Escondido, CA 92029
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                     Sunrise Banks, NA
                     200 University Avenue West
                     Saint Paul, MN 55103



                     United Health
                     P.O. Box 1459
                     Minneapolis, MN 55440-1459



                     Veera Venkata Rao Pentakota
                     #304, Ushoodaya Trinity
                     Green Glen Layout, Bellandur
                     Amboy, MN 56010-3000
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CSD 1007-7 [02/2022]
Name, Address, Telephone, & I.D. No.
Buchalter
18400 Von Karman Ave.
Suite 800
Irvine, CA 92612
949-760-1121
216313 CA
        UNITED STATES BANKRUPTCY COURT
           SOUTHERN DISTRICT OF CALIFORNIA
        325 West F Street, San Diego, California 92101-6991

In Re                                                               Bankruptcy No.
Employee Loan Solutions, LLC

                                                      Debtor(s)
                                                                    Adversary No.

                                                     Plaintiff(s)
V.                                                              [add if filed in response to hearing]
                                                                Date of Hearing: 0
                                                   Defendant(s) Time of Hearing:
                                                                Name of Judge:

                                        CORPORATE OWNERSHIP STATEMENT

Pursuant to Bankruptcy Rules 1007(a) and 7007.1, and Local Bankruptcy Rules 1007-7 and 7007.1-1,

                                        Employee Loan Solutions, LLC                         ,a
                                          [Name of Corporate Party]

                  (check one)

                             Corporate Debtor
                             Party to an Adversary Proceeding

makes the following disclosure(s): (check one)

                 All corporations, other than a governmental unit, that directly or indirectly own ten 10% or more of any
                  class of the corporation’s equity interests are listed below:
                           Emp Loan Holdings, Inc.
                           10755 Scripps Poway Pkwy #482
                           San Diego, CA 92131
OR

                 There are no corporate entities that directly or indirectly own 10% or more of any class of the
                  corporation’s equity interest.

Dated:
                                                   Caroline R. Djang
                                                                      Attorney Signature
